Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 1 of 15 PageID #:109




                           EXHIBIT 3
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 2 of 15 PageID #:110
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 3 of 15 PageID #:111
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 4 of 15 PageID #:112
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 5 of 15 PageID #:113
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 6 of 15 PageID #:114
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 7 of 15 PageID #:115
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 8 of 15 PageID #:116
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 9 of 15 PageID #:117
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 10 of 15 PageID #:118
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 11 of 15 PageID #:119
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 12 of 15 PageID #:120
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 13 of 15 PageID #:121
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 14 of 15 PageID #:122
Case: 1:21-cv-01967 Document #: 8-3 Filed: 06/11/21 Page 15 of 15 PageID #:123
